           Case 8:22-bk-12142-SC Doc 26 Filed 01/21/23                                            Entered 01/21/23 21:14:10                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 22-12142-SC
2nd Chance Investment Group, LLC                                                                                       Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jan 19, 2023                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 21, 2023:
Recip ID                 Recipient Name and Address
db                     + 2nd Chance Investment Group, LLC, 600 W. Santa Ana Blvd., PMB 5045, Santa Ana, CA 92701-4558

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 21, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 19, 2023 at the address(es) listed
below:
Name                               Email Address
Amanda G. Billyard
                                   on behalf of Debtor 2nd Chance Investment Group LLC abillyard@bwlawcenter.com

Andy C Warshaw
                                   on behalf of Debtor 2nd Chance Investment Group LLC awarshaw@bwlawcenter.com,
                                   Warshaw.AndyB110606@notify.bestcase.com

Arvind Nath Rawal
                                   on behalf of Creditor Ally Bank c/o AIS Portfolio Services, LLC arawal@aisinfo.com

David M Goodrich
                                   on behalf of Interested Party Interested Party dgoodrich@go2.law
                                   kadele@wgllp.com;lbracken@wgllp.com;wggllp@ecf.courtdrive.com;gestrada@wgllp.com

Lazaro E Fernandez
                                   on behalf of Interested Party Courtesy NEF lef17@pacbell.net
                                   lef-sam@pacbell.net;lef-mari@pacbell.net;OfficeLR74738@notify.bestcase.com;lefkarina@gmail.com
          Case 8:22-bk-12142-SC Doc 26 Filed 01/21/23                                    Entered 01/21/23 21:14:10    Desc
                              Imaged Certificate of Notice                               Page 2 of 4
District/off: 0973-8                                          User: admin                                             Page 2 of 2
Date Rcvd: Jan 19, 2023                                       Form ID: pdf042                                        Total Noticed: 1
Queenie K Ng
                             on behalf of U.S. Trustee United States Trustee (SA) queenie.k.ng@usdoj.gov

Richard L. Sturdevant
                             on behalf of Debtor 2nd Chance Investment Group LLC rich@bwlawcenter.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov


TOTAL: 8
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 Attorney or Party Name, Address, Telephone & FAX Nos.,                      FOR COURT USE ONLY
 State Bar No. & Email Address

 Andy C. Warshaw (263880)
 Financial Relief Law Center, APC                                                                        FILED & ENTERED
 1200 Main St., Suite C
 Irvine, CA 92614
 Phone: (714) 442-3319                                                                                           JAN 19 2023
 Email: awarshaw@bwlawcenter.com

                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY bolte      DEPUTY CLERK




      Individual appearing without attorney
      Attorney for: Debtor in Possession

                                         UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA ± SANTA ANA DIVISION

 In re: 2nd Chance Investment Group, LLC                                     CASE NO.: 8:22-bk-12142-SC
                                                                             CHAPTER: 11

                                                                                    ORDER RE MOTION IN INDIVIDUAL
                                                                                    CHAPTER 11 CASE TO AUTHORIZE
                                                                                   DEBTOR-IN-POSSESSION TO EMPLOY
                                                                                         GENERAL COUNSEL
                                                                                           [11 U.S.C. § 327, LBR 2014-1]

                                                                                   No Hearing: LBR 9013-1(o)(3)
                                                                                   Hearing Information:
                                                                             DATE:
                                                                             TIME:
                                                                             COURTROOM:
                                                                             ADDRESS:


                                                              Debtor(s).


1. The court has considered The Debtor and Debtor in 3RVVHVVLRQ¶V$SSOLFDWLRQ7R(PSOR\)LQDQFLDO5HOLHI/DZ&HQWHU
   APC As General Bankruptcy Counsel Effective As Of The Petition Date WKH³Motion´ .

2. The Motion was:                   Opposed                  Unopposed                 Settled by stipulation

3. Based upon the motion and supporting documents, and the findings and conclusions made at the hearing if a hearing
   was held, IT IS ORDERED THAT:

    a.       The Motion is granted pursuant to 11 U.S.C. § 327 and the Debtor-in-Possession is authorized to employ:
             Financial Relief Law Center, APC (General Counsel) effective on December 21, 2022.

    b. General Counsel will seek compensation pursuant to 11 U.S.C.                           § 328 or          § 330

            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2015                                                               Page 1                F 2081-2.5.ORDER.EMPLOY.GEN.COUNSEL
          Case 8:22-bk-12142-SC Doc 26 Filed 01/21/23                                                Entered 01/21/23 21:14:10                          Desc
                              Imaged Certificate of Notice                                           Page 4 of 4
     c.       The Motion is denied.

4.          Notwithstanding 11 U.S.C. § 331, General Counsel may file interim fee applications in this case                                      days
            apart;

5.          General Counsel may use the procedures set forth in LBR 9013-1(o) regarding Notice of Opportunity to
            Request Hearing when requesting approval of interim fee applications in this case; and

6.          Other (specify):




                                                                           ###




                 Date: January 19, 2023




             This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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